          Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 1 of 15




                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


 NETCHOICE, LLC d/b/a NETCHOICE, a
 501(c)(6) District of Columbia organization, and
 COMPUTER & COMMUNICATIONS
 INDUSTRY ASSOCIATION d/b/a CCIA, a
 501(c)(6) non-stock Virginia corporation,

        Plaintiffs,                                               Civil Action No.
                                                                  1:21-cv-00840-RP
 v.

 KEN PAXTON, in his official capacity as Attorney
 General of the State of Texas,

        Defendant.


             BRIEF OF AMICI CURIAE CHAMBER OF PROGRESS,
       CONNECTED COMMERCE COUNCIL, CTA®, ENGINE ADVOCACY,
   INFORMATION TECHNOLOGY & INNOVATION FOUNDATION, NATIONAL
  BLACK JUSTICE COALITION, PROGRESSIVE POLICY INSTITUTE, TECHNET,
   AND WASHINGTON CENTER FOR TECHNOLOGY POLICY INCLUSION AND
   HISPANIC TECHNOLOGY AND TELECOMMUNICATIONS PARTNERSHIP IN
     SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION


                                       INTRODUCTION

       Amici urge the Court to enter a preliminary injunction to prevent Texas House Bill 20

(“H.B. 20,” enacted September 9, 2021) (the “Act”) from taking effect on December 2, 2021.

Doing so will prevent immediate, irreparable harm to providers and consumers of online services

from the Act’s unconstitutional interference with providers’ First Amendment rights to set and

enforce content policies for their individual platforms. Plaintiffs Netchoice LLC and Computer &

Communications Industry Association (“Plaintiffs”) have satisfied all of the factors for entering a

preliminary injunction.


                                                1
            Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 2 of 15




        Texas officials assert that the Act is to the benefit of its residents. 1 Amici strongly disagree.

H.B. 20 will dramatically and adversely impact consumers both inside and outside of Texas. This

is directly relevant to the legal issues before the Court on the motion for preliminary injunction,

including plaintiffs’ likelihood of success on the merits of their claims, the relative harm the parties

may suffer if H.B. 20 is or is not enjoined, and the public interests impacted by the Act.

        The Act will place online providers and their users in a no-win situation where both legal

and illegal harmful content will proliferate. H.B. 20 does this by: (1) prohibiting screening and

blocking of harmful content and activities; (2) compelling detailed disclosures of the methods

providers use to enforce their policies making it easier for wrongdoers to evade detection; and (3)

imposing undue burdens on content moderation. The harm to consumers is direct and

unavoidable—consumers’ ability to seek out truthful, trustworthy, and safe online content and

avoid harmful content will be obstructed. The Act violates the First Amendment and should be

enjoined.

                                 INTEREST OF AMICI CURIAE

        Chamber of Progress is a tech industry coalition devoted to a progressive society, economy,

workforce, and consumer climate. It is an industry organization that backs public policies that will

build a fairer, more inclusive country in which all people benefit from technological leaps. Its work

is supported by corporate partners, many of whom will be subject to the law at issue. 2

        The Connected Commerce Council (3C) is a nonprofit membership organization with a

single goal: to promote small businesses’ access to essential digital technologies and tools.




1
 Plaintiffs’ Motion at pp. 6-7.
2
 Chamber of Progress’ Partners are available at: https://progresschamber.org/. Chamber of
Progress’ partners do not sit on its board of directors and do not have a vote on or veto over its
positions.


                                                    2
          Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 3 of 15




       As North America’s largest technology trade association, CTA® is the tech sector. Its

members are the world’s leading innovators – from startups to global brands – helping support

more than 18 million American jobs. CTA owns and produces CES® – the most influential tech

event in the world.3

       Engine Advocacy (“Engine”) is a nonprofit technology policy, research, and advocacy

organization that bridges the gap between policymakers and startups. Engine works with

government representatives and a community of high-technology, growth-oriented startups across

the nation to support the development of technology entrepreneurship.

       Founded in 2006, Information Technology & Innovation Foundation (ITIF) is an

independent 501(c)(3) nonprofit, nonpartisan research, and educational institute—a think tank. Its

mission is to formulate, evaluate, and promote policy solutions that accelerate innovation and boost

productivity to spur growth, opportunity, and progress.

       Since 2003, the National Black Justice Coalition (NBJC) has been America’s leading

national civil rights organization dedicated to the empowerment of Black lesbian, gay, bisexual,

transgender, queer+, and same gender loving (LGBTQ+/SGL) people, including people living with

HIV/AIDS through coalition building, federal policy change, research, and education.

       The Progressive Policy Institute (PPI) is a catalyst for policy innovation and political

reform based in Washington, D.C. Its mission is to create radically pragmatic ideas for moving

America beyond ideological and partisan deadlock.

       TechNet is the national, bipartisan network of technology CEOs and senior executives that

promotes the growth of the innovation economy by advocating a targeted policy agenda at the

federal and 50-state level. TechNet’s diverse membership includes dynamic American businesses


3
 A complete list of the Consumer Technology Association’s members is available at:
http://cta.tech/Membership/Membership-Directory.aspx.


                                                 3
          Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 4 of 15




ranging from startups to the most iconic companies on the planet and represents over four million

employees and countless customers.

       The Washington Center for Technology Policy Inclusion (WashingTECH), a nonpartisan,

nonprofit 501(c)(3) corporation, is an advocacy platform committed to civil rights, empowerment,

justice, and inclusion in technology public policy making. As America’s “inclusive voice of tech

policy,” WashingTECH’s mission is to convene diverse technology public policy professionals to

defend America’s rich diversity with programs that promote an inclusive narrative about

technology’s impact on society.

       The Hispanic Technology and Telecommunications Partnership (“HTTP”) is the leading

national Latino/a/x voice on telecommunications and technology policy. HTTP members serve as

a nonpartisan coalition of national Latino civil rights organizations working to ensure that the full

array of technological and telecommunications advancements are available to the Latino/a/x

community across the United States.

       Amici4 have a substantial interest in ensuring that consumers can enjoy a healthy online

environment where they can effectively and efficiently work, play, learn, shop, connect, and

express themselves without harassment, disinformation, and incendiary content. To ensure that

online services are inclusive, useful, and safe, online providers take a variety of actions, often

referred to collectively as “content moderation.”5 Online providers understand that these actions

are necessary to support the innovation economy and promote equitable access to the benefits of

technological innovations.


4
  The term “Amici” includes Chamber of Progress, 3C, CTA®, Engine, ITIF, NBJC, PPI,
TechNet, WashingTECH, and the Hispanic Technology and Telecommunications Partnership.
5
  “Content moderation” generally refers to the process by which online providers “decide to
publish or remove third-party content.” Eric Goldman, Content Moderation Remedies (2021), at
p. 6. Michigan Technology Law Review, Forthcoming, Santa Clara Univ. Legal Studies
Research Paper, https://ssrn.com/abstract=3810580.


                                                 4
          Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 5 of 15




       The Act poses a direct threat to healthy and safe online communities by restricting,

undermining, and burdening the ability of online providers to exercise their First Amendment

rights to moderate content on their private platforms. Laws that seek to regulate content moderation

like H.B. 20 are extremely important to Amici, because the parties Amici represent routinely

engage in or benefit from content moderation. Amici have a substantial interest in this action as

the outcome will impact the ability of providers to offer and consumers to access safe online

platforms.

                                           ARGUMENT

       Content moderation by private parties is expressive activity protected by the First

Amendment. The Act’s unjustifiable restriction and regulation of this protected expression weighs

heavily in favor of granting plaintiffs’ motion for a preliminary injunction. If H.B. 20 takes effect,

it will result in irreparable injuries to online providers and their consumers.

       Providers’ and consumers’ interests in online content moderation are inextricably

intertwined. Consumers want reliable information and safe online communities. 6 Similarly, online

providers have an imperative to develop services that deliver consumers beneficial online

experiences.7 Providers must make judgments about the types of content and activities that will

disrupt the online experience they want to cultivate. Providers’ content moderation policies are

carefully weighed judgements about what measures are necessary to attract and retain consumers




6
  See Decl. Netchoice ¶14.
7
  The Declaration of LGBT Tech brings this into sharp focus, stating: “Put simply, few users—
gay, straight,trans; white, black, brown; young or old—want to scroll through hateful content and
messages. But because HB 20 compels platforms to host such content, and because bad actors
tend to spam message boards, private group pages, and other forums with hateful messages,
many users will flee these platforms. At the very least, many will engage less.” Decl. LGBT
Technology Institute ¶13.


                                                  5
           Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 6 of 15




and/or advertisers8 and limit corporate risk and reputational damage. 9 Each provider must make

these judgments10 based on their service’s unique situation considering factors such as the nature

of the service; the intended audience; the well-being of employees and contractors; and a range of

cultural, political, and legal factors based on the company’s global footprint. 11 The imperative to

create healthy and trustworthy online communities operates to the benefit of consumers by

reducing the amount of illegal, “lawful but awful,” irrelevant, low quality, and nuisance content

they must wade through to conduct their daily activities, whether research for work or school or

planning travel, a big purchase, or where to eat that night.

       To create a healthy, safe, and trustworthy environment, just some of the policies providers

adopt and enforce include:

           screening for spam, viruses, malware, phishing, scams, child sexual abuse material,

            terrorist propaganda, coordinated inauthentic activity by hostile nation states, and other

            policy violations;




8
  See Decl. Netchoice ¶¶8-10; Decl. CCIA ¶22, ¶28.
9
  See Decl. Netchoice ¶16, ¶23.
10
   See Decl. CCIA ¶19(describing content moderation as “normative judgments” and “important
statements about the kind of community [the provider] wishes to foster”).
11
   As argued in plaintiff’s motion H.B. 20 applies to conduct outside Texas’ borders in violation
of the Commerce Clause. Plaintiffs’ Motion at pp. 39-43. Because H.B. 20 regulates online
content that Texas residents may want to receive, it purports to require covered providers to
allow access to content that violates the laws of other jurisdictions. Tex. Civ. Prac. & Rem. Code
§ 143A.004(a). This could expose providers to liability in other U.S. states and foreign countries.
The German Network Enforcement Act (Netzwerkdurchsetzungsgesetz) imposes liability on
online services if they do not remove illegal content, such as Holocaust denial, after receiving a
notice. See, Library of Congress, Germany: Network Enforcement Act Amended to Better Fight
Online Hate Speech (2021), available at: www.loc.gov/item/global-legal-monitor/2021-07-
06/germany-network-enforcement-act-amended-to-better-fight-online-hate-speech/. H.B. 20
would prohibit a provider from enforcing a policy against Holocaust denial because it does not
fit within an exception. This is highly disruptive to efforts to facilitate cross-border
communications and to adopt global content policies.


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           Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 7 of 15




           responding to reports from the public, consumers, and trusted partners about the content

            described above, as well as, harassment; impersonation; invasions of privacy such as

            posting non-consensual intimate images, doxxing, and deadnaming; grooming minors;

            and promotion of suicide and self-harm;

           labeling, restricting, rating, or otherwise identifying content that may not be appropriate

            for certain audiences, is regulated, or is suspicious or potentially harmful; and

           removing, demoting, or limiting the spread of content that is disruptive to the type of

            environment they want to provide to their consumers, including hate speech,

            disinformation, and content that may be simply irrelevant to the function of the

            service.12

I.     PROHIBITION ON SCREENING & BLOCKING

       The Act prohibits online providers from engaging in many of these content moderation

activities by prohibiting “censorship” of “viewpoints” 13 subject to only narrow exceptions.14

Violations will result in Attorney General and private lawsuits. 15 While some provider rules may




12
   For example, TripAdvisor’s Traveler Review Guidelines require that reviews avoid including
information unrelated to the experience with the business being reviewed.
https://www.tripadvisorsupport.com/hc/en-us/articles/200614797-Traveler-review-guidelines.
Amazon has a similar “relevance” policy for product reviews.
https://www.amazon.com/gp/help/customer/display.html?nodeId=GLHXEX85MENUE4XF
13
   Plaintiffs’ Motion at pp. 8-10(detailing the Act’s restrictions on content moderation).
14
   Tex. Civ. Prac. & Rem. Code § 143A.006 provides exceptions for: 1) censorship explicitly
authorized by federal law; 2) content removed based on a referral from an organization dedicated
to preventing child sexual exploitation; 3) content removed because it directly incites violence or
threatens violence against an individual based on certain protected characteristics; and 4)
unlawful expression. Section 143A.001(5) defines “unlawful expression” by reference to federal
and Texas law, including tort law.
15
   Tex. Civ. Prac. & Rem. Code § 143A.007(b)-(c) & § 143A.008(b).


                                                  7
          Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 8 of 15




be indifferent to the content of a post,16 many rules deal exclusively with the content of posts.17

Given the litigation risk, providers will be chilled from taking action against harmful content unless

it very clearly falls within one of the exceptions. 18

        This result creates immediate irreparable harm in several different ways. There are many

reasons why a provider or consumer may want to limit content that is potentially harmful but not

illegal. Regardless of the reason, H.B. 20 presents a significant roadblock. For example, parents

and adult caregivers frequently seek out safe spaces online that children can visit without exposure

to content that may not be appropriate for the child’s age or the family’s values. 19 The Act

undermines this by preventing sites that are geared toward children from screening out

pornographic content. Likewise, these sites would not be able to prohibit content containing

violence, animal cruelty, profanity, or other age-inappropriate content. Because of the broad




16
   For example, Twitter maintains limits on the amount of activity on its site, such as allowing an
account no more than 1,000 direct messages a day. A violation may result in removal of content
even if the content otherwise complies with the Twitter Rules. See Twitter Limits,
https://help.twitter.com/en/rules-and-policies/twitter-limits.
17
   See, e.g., Tumblr Community Guidelines (prohibiting content containing hate speech,
glorification of self-harm, excessive violence, impersonation, non-consensual pornography, and
voter intimidation). Available at: https://www.tumblr.com/policy/en/community.
18
   See, Decl. YouTube ¶14; Decl. Stop Child Predators ¶11. The risk of lawsuits for removing
content is not hypothetical; these types of suits are happening now. See Daniels v. Alphabet, Inc.,
No. 20-cv-04687 (N.D. Cal. March 31, 2021), 2021 WL 1222166 (conspiracy theories),
Children’s Health Defense v. Facebook Inc., ___ F. Supp.3d ___, 2021 WL 2662064 (N.D. Cal.
June 29, 2021) (vaccine and health misinformation), Domen v. Vimeo, Inc., 991 F.3d 66 (sexual
orientation conversion therapy).
19
   Millions of parents and caregivers regularly allow the children in their care to visit or use sites
and apps such as Youtube and Roblox. See A. Smith, S. Toor, P. Van Kessel, Many Turn to
Youtube for Children’s Content, News, How-To Lessons, (Nov. 7, 2018),
https://www.pewresearch.org/internet/2018/11/07/many-turn-to-youtube-for-childrens-content-
news-how-to-lessons/; Factbox: The Nuts and Bolts of Roblox, REUTERS (Nov. 19, 2020),
https://www.reuters.com/article/us-gaming-roblox-factbox/factbox-the-nuts-and-bolts-of-roblox-
idUSKBN27Z1FZ.


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          Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 9 of 15




definition of what constitutes censorship, the Act also prohibits age-gating or providing warnings

to users for these types of content. 20

        Recently, federal lawmakers on both sides of the aisle pressured Facebook to take greater

action to support teen users’ mental health.21 Sen. Blumenthal highlighted concerns over the

“easily findable accounts associated with extreme dieting and eating disorders.” 22 Proponents of

the federal bill, the KIDS Act,23 complain of teen access to “unhealthy content,” such as content

containing violence or promoting self-harm, and content containing influencers’ marketing

messages.24 Today, Facebook and other providers prohibit a range of content that is not illegal—

but could be dangerous for impressionable users—including content promoting eating disorders,

cutting, and suicide. H.B. 20 would curtail this by prohibiting removal of this type of content. 25 If

providers cannot make judgments about what policies best serve their users, consumers will lose

the ability to choose which service best suits their needs. For vulnerable consumers, this could

have serious consequences.


20
   Both of these activities would “restrict” or “deny equal access to” content under the definition
of “censor.” Tex. Civ. Prac. & Rem. Code § 143A.001(1). See also, Decl. YouTube ¶36.
21
   A. Silberling, TechCrunch, Facebook Grilled in Senate Hearing over Teen Mental Health
(Sept. 30., 2021), https://techcrunch.com/2021/09/30/facebook-grilled-in-senate-hearing-over-
teen-mental-health/.
22
   Congressional Record Vol. 167, No. 170, S6759 (September 29, 2021).
23
   S. 3411 (116th Cong.), https://www.congress.gov/bill/116th-congress/senate-
bill/3411?q=%7B%22search%22%3A%5B%22KIDS+Act%22%2C%22KIDS%22%2C%22Act
%22%5D%7D&s=2&r=7.
24
   https://www.markey.senate.gov/news/press-releases/senators-markey-and-blumenthal-rep-
castor-reintroduce-legislation-to-protect-children-and-teens-from-online-manipulation-and-harm.
25
   See, e.g., Facebook Community Standards: Suicide and Self-Injury,
https://transparency.fb.com/policies/community-standards/suicide-self-injury/; Twitter Rules and
Policies: Suicide and Self-harm Policy, https://help.twitter.com/en/rules-and-policies/glorifying-
self-harm. It is worth noting that other services choose to allow these types of content to ensure
individuals who struggle with these issues are able to participate in supportive communities. See,
e.g., Reddit Content Policy, https://www.redditinc.com/policies/content-policy (which does not
contain a prohibition on this content). See also, Sarah Mitroff, Reddit Now Lets You Report
Users Who May Be at Risk of Self-harm (March 4, 2020), https://www.cnet.com/health/reddit-
now-lets-you-report-users-that-you-worry-might-self-harm/.


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           Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 10 of 15




       The impact of prohibiting providers from taking action against legal, but harmful content,

will be felt by consumers of all ages. There is a wide gulf between the types of speech the

government may prohibit26 and what speech consumers want to see.27 Providers seek to fill this

gap with policies against:

           all manner of threats,28 not merely “true threats;”29

           content that dehumanizes or discriminates against individuals based on perceived

            membership in a protected class,30 not merely threats or acts of violence based on such

            membership;31

           content that sexualizes children,32 even if it doesn’t involve actual children (e.g., virtual

            child pornography or cartoons).33

       The results of H.B. 20’s prohibition on enforcement of such policies is amply described in

the declarations supporting Plaintiffs’ motion.34 However, it cannot be overstated that allowing


26
   See Congressional Research Service, Rep. No. IF11072, First Amendment Categories of Speech
(Killion 2019), https://crsreports.congress.gov/product/pdf/IF/IF11072.
27
   See, Decl. Facebook ¶ 2, Decl. NetChoice ¶14. See also, e.g., Anti-Defamation League, Online
Hate and Harassment: The American Experience 2021, What Solutions do Americans Want?
(2021), https://www.adl.org/online-hate-2021#what-solutions-do-americans-want; Sophie
Bertazzo, Trust Magazine, Online Harassment Isn’t Growing—But It’s Getting More Severe
(June 28, 2021), https://www.pewtrusts.org/en/trust/archive/spring-2021/online-harassment-isnt-
growing-but-its-getting-more-severe (discussing measures consumers would like to see online
services take).
28
   See, e.g., Twitter Rules: Abusive Behavior, https://help.twitter.com/en/rules-and-
policies/abusive-behavior.
29
   See, e.g., Virginia v. Black, 538 U.S. 343 (2003).
30
   See, e.g., Facebook Community Standards: Hate Speech,
https://support.google.com/youtube/answer/2801999?hl=en&ref_topic=9282679.
31
   See, e.g., Texas Civ. Prac. & Rem. Code § Sec. 143A.006(a)(3) (exception to prohibition on
censorship for “specific threats of violence” based on a protected characteristic).
32
   See, e.g., YouTube Community Guidelines: Child Safety Policy,
https://support.google.com/youtube/answer/2801999?hl=en&ref_topic=9282679.
33
   See, Ashcroft v. Free Speech Coalition, 535 U.S. 234 (2002) (holding ban on virtual child
pornography unconstitutional).
34
   See, e.g., Decl. NetChoice ¶16, ¶23; Decl. YouTube ¶¶61-62; Decl. of Facebook ¶2.


                                                   10
         Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 11 of 15




platforms to be overrun with harmful content will essentially render them unusable for all

consumers, and particularly for communities that may be vulnerable 35 or that may be specifically

targeted with hate and harassment.36

II.    THE ACT UNDERMINES EFFORTS TO PROTECT CONSUMERS

       H.B. 20 compels providers to engage in speech that is contrary to their interests and the

interests of their consumers in clear violation of the First Amendment. 37 In particular, the

requirements to provide detailed information about the methods used to enforce content policies 38

will undermine the efficacy of providers’ enforcement activities. Sophisticated bad actors

continually change their playbooks for phishing, malware, scams, spam, coordinated inauthentic

activity, and other illegal activities such as trading child sexual abuse material, sex trafficking,

terrorist recruiting and fundraising, and selling drugs.39 Whether organized crime, government

intelligence services, state-sponsored hacking groups, foreign terrorist organizations, gangs, or

drug cartels, providers must continually update and refine their approaches to detecting and

countering such content. Even seemingly small amounts of information tip the balance on whether

large amounts of harmful content make it onto a platform or are successfully deterred.

       Online providers remove millions (and in some cases billions) of pieces of content for

violating policies every year. For example, Facebook removed over 794 million of pieces of



35
   In addition to posing safety concerns for kids and teens, H.B. 20 will also interfere with efforts
to protect seniors from scams specifically targeting them. See Decl. CCIA ¶12.
36
   See Decl. LGBT Tech ¶13.
37
   See Motion at p. 24 (discussing the standard to determine whether compelled disclosures are
consistent with the First Amendment).
38
   See Tex. Bus. & Com. Code § 120.053(a) (7) (requiring disclosure of “description of each
tool, practice, action, or technique used in enforcing the acceptable use policy.”).
39
   See, e.g., Jean Whitmore, The Arms Race of Models: Complexify or Die (June 24, 2021),
https://ssrn.com/abstract=3867464 (“Both the spammers and spam filter-builders are under
pressure to evolve or die.”); Steven Gosschalk, AI vs. AI: The Digital Arms Race to Fight Fraud
(Oct. 24, 2019), https://aithority.com/guest-authors/ai-vs-ai-the-digital-arms-race-to-fight-fraud/.


                                                 11
         Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 12 of 15




spam40 in a quarter;41 in a six-month period Twitter challenged 143 million suspected spam

accounts;42 and in one quarter YouTube removed over 630 million comments for violations related

to spam.43 It is hard to see how consumers would benefit from even a fraction of such content

being available on the platforms they use for work, school, keeping up with friends and family,

and getting news or entertainment. Certainly, providers have the right to keep this content off their

platforms.

III.   THE ACT BURDENS ACTIONS THAT PROTECT CONSUMERS

       The Act contains several provisions that serve as constructive prohibitions on content

moderation by imposing undue burdens, making it impossible for providers to engage in the full

range of policy setting and enforcement necessary for the proper operation of their services and

protection of consumers.44 These burdens include new requirements for actions that must

accompany content moderation activities including individual user notices, appeals, complaint

systems, and transparency reporting. 45

       These requirements apply to a broad range of actions taken to benefit consumers that go

far beyond removal of content or banning of accounts. For example, the requirements will impact:




40
   It should be noted that each provider defines “spam” uniquely for their platform. These
definitions are usually not restricted to unsolicited commercial emails typically regulated by anti-
spam laws, and therefore encompass a significant amount of harmful, but not illegal content and
activity.
41
   Facebook Transparency Report, https://transparency.fb.com/data/community-standards-
enforcement/spam/facebook/.
42
   Twitter Transparency Report, https://transparency.twitter.com/en/reports/platform-
manipulation.html#2020-jul-dec.
43
   Google Transparency Report, https://transparencyreport.google.com/youtube-
policy/removals?hl=en.
44
   See Decl. YouTube ¶33, Decl. CCIA ¶¶42-44.
45
   See Plaintiffs’ Motion at pp. 11-13.


                                                 12
           Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 13 of 15




           Labeling, age gating, or providing an interstitial before sensitive content. 46 “Sensitive”

            is a broad label and can apply to graphic photos of terrorist attacks, pornography, or

            regulated content.

           Labeling “State-owned Media” as such to help consumers evaluate content from

            sources like RT America, which consumers may not recognize as a media operation

            backed by the Russian government. 47

           Downranking or demoting content of a lesser quality, is likely to generate complaints,

            or poses a potential threat to users. For example, Facebook demotes comments that are

            similar to prior comments that were subject to complaints.48

Under the Act, these activities are subject to many of the same burdensome obligations as other

content moderation decisions, including removing content and banning users. 49

       The Act imposes new burdens on content moderation activity that will make it impossible

for many covered entities to afford to comply with the new requirements or—because of the high

volume of content on their sites—unable to satisfy the requirements for all types of content

moderation actions regulated by H.B. 20. These service providers will face stark choices, the

consequences of which will flow directly or indirectly to consumers. Providers may choose to stop

moderating content altogether unless required by law, or scale down their content moderation

policies and enforce such policies only against the worst of the worst of policy violations. Or




46
   See, Decl. of CCIA ¶ 15. See also, e.g., Twitter Rules: Media Policy,
https://help.twitter.com/en/rules-and-policies/media-policy.
47
   See, Decl. of CCIA ¶ 17. See also, e.g., Twitter Rules: State-Affiliated Content,
https://help.twitter.com/en/rules-and-policies/state-affiliated.
48
   See Guideline Details: Comments that are likely to be reported or hidden,
https://transparency.fb.com/en-gb/features/approach-to-ranking/content-distribution-
guidelines/comments-likely-reported-hidden/.
49
   Tex. Com. & Bus. Code § 120.053.


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           Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 14 of 15




platforms may choose to change aspects of how their service operates. For example, providers

could collect more personal information from consumers for identity verification or charge a fee

for the service to reduce the risk of inappropriate behavior or to cover the increased cost of offering

the services.

       Consumers will disadvantaged by these consequences in multiple ways, such as losing the:

           variety of online services that they can choose from, as high compliance costs and

            significant legal risks make it more difficult for small and medium-sized sites to

            continue to operate and create a barrier to entry for new services that will have to

            comply when they meet the 50 million users threshold;

           low friction to using many online services which have no registration requirement, or

            registration with minimal collection of personal information, which provide

            opportunities to speak anonymously or pseudonymously. This low friction also helps a

            more diverse set of communities have access to online services than would if, for

            example, providers were to seek to verify identities through processes that require

            credit cards or government-issued identification; and

           wide access to free services as companies seek to cover the costs of compliance and

            address the increased risk of litigation. Being able to offer certain services without cost

            is vital to ensure online services are available not just to those who can afford to pay.

IV.    AN INJUNCTION IS NECESSARY TO PROTECT CONSUMERS

       If allowed to take effect, the Act will impinge Amici’s constituents’ ability to moderate

their private platforms and will change the way hundreds of millions consumers experience the

internet, exposing consumers to scams, fraud, and other harmful content which is now subject to

moderation efforts. The nature of the internet makes it impossible to confine the Act to only Texas




                                                  14
        Case 1:21-cv-00840-RP Document 30 Filed 10/29/21 Page 15 of 15




users. An injunction preserves the current state of the internet, including all the actions that

providers currently take and to which consumers are accustomed, at least until the Court can

determine whether the Act passes Constitutional muster.

                                       CONCLUSION

       For these reasons, Amici Curiae support Plaintiffs’ Complaint and their Motion for

Preliminary Injunction.


Dated: October 7, 2021                          Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 7th day of October 2021, the foregoing Brief of Amicus Curiae

was filed with the Clerk of the Court and served on all counsel of record in this case using the

Court’s CM/ECF system.

                                                /s/ W. Reid Wittliff
                                                W. Reid Wittliff




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